                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                                 DETROIT OFFICE

SHEILA REED,                                     )
                                                 )
                      Plaintiff,                 )      2:15-cv-11808
                                                 )
       v.                                        )
                                                 )
MIDLAND CREDIT                                   )      JURY TRIAL DEMANDED
MANAGEMENT, INCORPORATED,                        )
                                                 )
                      Defendant.                 )

                                          COMPLAINT

       NOW COMES the plaintiff, SHEILA REED, by and through her attorneys,

SMITHMARCO, P.C., and for her Complaint against the defendant, MIDLAND CREDIT

MANAGEMENT, INCORPORATED, the plaintiff states as follows:

                               I.        PRELIMINARY STATEMENT

       1.     This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq.

                                   II.    JURISDICTION & VENUE

       2.     Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and pursuant to 28

U.S.C. §1331 and 28 U.S.C. §1337.

       3.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                          III.       PARTIES

       4.     SHEILA REED, (hereinafter, “Plaintiff”) is an individual who was at all relevant

times residing in the City of Rochester Hills, County of Oakland, State of Michigan.

       5.     The debt that Plaintiff was allegedly obligated to pay was a debt allegedly

originally owed by Plaintiff to GE Capital Retail Bank/Lowe’s (hereinafter, “the Debt”).

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           6.    The debt that Plaintiff allegedly owed GE Capital Retail Bank/Lowe’s was for a

credit card, on which charges were incurred primarily for the personal use of Plaintiff and/or for

household expenditure.

           7.    Upon information and belief, Defendant purchased, acquired and/or otherwise

obtained the debt for the purpose of collection from Plaintiff.

           8.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

           9.    MIDLAND       CREDIT      MANAGEMENT,            INCORPORATED,          (hereinafter,

“Defendant”) is a business entity engaged in the collection of debt within the State of Florida.

Defendant’s principal place of business is located in the State of California.          Defendant is

incorporated in the State of Florida.

           10.   The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           11.   Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           12.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

           13.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).




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       14.        At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

                                         IV.    ALLEGATIONS

       15.        On or about July 3, 2014, Defendant mailed to Plaintiff a correspondence dated

July 3, 2014 in an attempt to collect the Debt from Plaintiff.

       16.        The aforesaid correspondence was the initial communication with Plaintiff.

       17.        The aforesaid correspondence stated, inter alia, that if Plaintiff did not, by August

17, 2014, either contact Defendant to discuss the Debt or tender payment to Defendant, then

Defendant may proceed with forwarding the account to an attorney.

       18.        On or about August 4, 2014, Defendant mailed to Plaintiff a correspondence dated

August 4, 2014 in an attempt to collect the Debt from Plaintiff.

       19.        The correspondence Defendant mailed to Plaintiff dated August 4, 2014 stated,

inter alia, that if Plaintiff did not, by August 17, 2014, either contact Defendant to discuss the

Debt or tender payment to Defendant, then Defendant may proceed with forwarding the account

to an attorney.

       20.        At no time prior to August 7, 2014 did Plaintiff communicate with Defendant or

tender payment to Defendant for the Debt.

       21.        On or about March 9, 2015, Defendant mailed to Plaintiff a correspondence dated

March 9, 2015 in an attempt to collect the Debt from Plaintiff.

       22.        The correspondence Defendant mailed to Plaintiff dated March 9, 2015 stated,

inter alia, that if Plaintiff did not, by April 8, 2015, either contact Defendant to discuss the Debt




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or tender payment to Defendant, then Defendant may proceed with forwarding the account to an

attorney.

        23.     The aforementioned statements made by Defendant, that it intended to assign the

Debt to an attorney, were false, deceptive and misleading.

        24.     The aforementioned statements had the effect of conveying to an unsophisticated

consumer that if the Debt was not paid, a lawsuit would be filed.

        25.     Plaintiff has not paid the Debt.

        26.     Upon information and belief, Defendant has not filed a lawsuit against Plaintiff

for the Debt.

        27.     Upon information and belief, at the time of making the aforementioned threat,

Defendant had no intention of filing a lawsuit against Plaintiff for the Debt.

        28.     Upon information and belief, Defendant has no authority to file a lawsuit against

Plaintiff for the Debt.

        29.     Upon information and belief, at the time of making the aforementioned threat,

Defendant had no authority to file a lawsuit against Plaintiff for the Debt.

        30.     In its attempts to collect the debt allegedly owed by Plaintiff to GE Capital Retail

Bank/Lowe’s, Defendant violated the FDCPA, 15 U.S.C. §1692, in one or more of the following

ways:

                a. Used false, deceptive, misleading and unfair or unconscionable means to
                   collect or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

                b. Threatened to take action that cannot legally or is not intended to be taken in
                   violation of 15 U.S.C. §1692e(5);

                c. Used any false representation or deceptive means to collect or attempt to
                   collect any debt or to obtain information concerning the consumer in violation
                   of 15 U.S.C. §1692e(10);



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               d. Was otherwise deceptive and failed to comply with the provisions of the
                  FDCPA.

       31.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                      V.      JURY DEMAND

       32.     Plaintiff hereby demands a trial by jury on all issues so triable.

                                   VI.     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, SHEILA REED, by and through her attorneys, respectfully

prays for Judgment to be entered in favor of Plaintiff and against Defendant as follows:

               a.     All actual compensatory damages suffered;

               b.     Statutory damages of $1,000.00;

               c.     Plaintiff’s attorneys’ fees and costs;

               d.     Any other relief deemed appropriate by this Honorable Court.


                                                               Respectfully submitted,
                                                               SHEILA REED


                                                       By:      s/ David M. Marco
                                                                Attorney for Plaintiff

   Dated: May 19, 2015

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